     Case 4:01-cr-00059-MW-MAF            Document 176       Filed 05/22/07     Page 1 of 18


                                                                                         Page 1 of 18


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION



UNITED STATES OF AMERICA


v.                                                            CASE NO. 4:01-cr-00059-SPM-AK


PIERRE CARTER,

      Defendant.
__________________________/


                             REPORT AND RECOMMENDATION

          This matter is before the Court on Doc. 158, Motion to Vacate under 28 U.S.C. § 2255,

and Doc. 162, supporting affidavit, by Pierre Carter. The Government has filed its response,

Doc. 171, and Defendant has filed a reply. Doc. 172. This cause is therefore in a posture for

decision. Having carefully considered the matter, the Court recommends that the motion be

denied.

BACKGROUND

          Defendant was charged in two counts of a four-count Indictment with conspiracy to

distribute and to possess with the intent to distribute cocaine and more than 50 grams of a

substance containing cocaine base, “crack cocaine,” and with distribution of more than 5 grams

of a substance containing cocaine base, “crack cocaine.” Doc. 1. On or about October 24, 2001,
    Case 4:01-cr-00059-MW-MAF              Document 176        Filed 05/22/07      Page 2 of 18


                                                                                            Page 2 of 18


after Defendant’s initial appearance, the Government allowed Defendant’s attorney, William

Clark, Jr., to view a videotape of Defendant carrying 44 grams of crack cocaine to a car. Doc.

146 at 19. At that time, the Government had no further information regarding drug quantities

above that weight. Id. Thus, according to counsel for the Government, “if he walked in and pled

guilty, [the Government] would not have been able to show more than 44 grams....” Id. at 19-20.

        Defendant did not, however, “come in and plead guilty.” Id. at 20. Instead, in

December, 2001, his co-defendants pled guilty first and provided the Government with enough

information to make it “very clear that Mr. Carter was involved in well over 50 grams, and

that’s where we ended up on the date of trial.” Id; see also Docs. 59 & 60. Each of the co-

defendants subsequently received substantial assistance motions and were sentenced to 131 and

138 months. Docs. 109, 110, 113 & 114.

        In early February, 2002, Mr. Clark moved to withdraw from further representation based

on irreconcilable differences between him and Defendant. Docs. 68 & 73. Attached to Clark’s

motion to withdraw was Defendant’s pro se motion to have counsel removed. Doc. 68 at 3. Of

importance are the following assertions:

        The Defense that the Defendant wish to have presented has not been considered
        by counsel. Counsel wishes to pursue an avenue that is totally opposite to the
        defense that the Defendant wishes to present....Its well settled that when an
        attorneys strategy for a defense, diverge from that of the defendant, this creates a
        conflict of interest. The Defendant submits to this Court that when a defendant
        decides to exercise his rights and go to trial, he has a right to present his defense
        of choice.

Id. at 5. The Court conducted a hearing on counsel’s motion and allowed Defendant to “tell [the

Court] exactly what you think Mr. Clark should be doing that he’s not doing,” to which

Defendant stated:

Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07      Page 3 of 18


                                                                                            Page 3 of 18


        For one, he can’t seem to get the phone records. The phone records he has are for
        the last couple months when Mr.–the person we’re talking about that is in the
        BOP, he has been calling from, let’s say, probably a year and half ago and he’s
        been incarcerated. They can’t seem to get those records from either one of those
        institutions because supposedly they’re not federal institutions....

        Also, I can’t get the motion of discovery, and the defense I want to present. Mr.
        Clark doesn’t feel that it would be appropriate in my case, and I just don’t
        think–we have irreparable differences, sir.

                                                ***

        I feel that I need counsel that’s more–counsel, someone who has more time. Mr.
        Clark never really has enough time for my case.

Doc. 149 at 5-6.

        At that point, counsel for the Government interjected “so we aren’t talking as vaguely,”

adding:

        My understanding from talking to witnesses in the case, and from specific Brady
        requests that I’ve received, is that it appears that Mr. Carter is trying to press
        some sort of entrapment or public authority defense. That is, he would want to
        say that on the day he was arrested he knew that the informant was working for
        the police and he...thought he was merely helping out.

        There is, as far as the government is concerned, no evidence to support this, and
        I’ve even listened to the tapes and that doesn’t seem to support it either, tapes
        between the informant and the informant’s boyfriend, Fred Pleas.

        We have set up a meeting between the informant in this case and Mr. Clark and
        the defense investigator, which is very unusual for the government to take one of
        its witnesses and say, “Here you are, Mr. Clark,” and ask the informant to speak
        with them. Obviously the informant didn’t have to do it, but we did that.

        She vigorously denied that Mr. Carter would have been aware that she was
        working as an informant, and in fact said, no, he’s the last person I would tell
        because it would put me in danger, among other reasons.

                                                ***

        I don’t know what’s going on between Mr. Clark and Mr. Carter, but I can say,

Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07       Page 4 of 18


                                                                                           Page 4 of 18


        viewing this from the prosecutor’s standpoint, even if Mr. Carter were able to say
        that on one particular day, that is the day of his arrest, he knew that the informant
        was working for the police, that’s not going to get him off of the conspiracy
        charge.

        We have witnesses who will say that he was involved in a conspiracy with his two
        co-defendants, who have pled guilty...and he was doing that during the course of
        the year that is charged in the indictment. So even if he gets off the one day that
        he’s charged with, August 22, the evident still strongly supports his involvement
        in a conspiracy that lasted for well over a year.

Id. at 7-8.

        The Court allowed Mr. Clark to withdraw even though Defendant’s reasons for seeking

counsel’s discharge were not “legally sufficient” and there was not “reasonable cause to believe

that Mr. Clark was rendering ineffective representation,” stating that Defendant was being

afforded new counsel “because you are facing a long prison sentence and I think you might

benefit from a second opinion about your case.” Id. at 10. It then appointed Steven Glazer to

represent Defendant in Clark’s stead. Doc. 73. Mr. Glazer subsequently moved for a

continuance because he required “more time to properly investigate and prepare for trial.” Doc.

80. At that time, Mr. Glazer indicated that he continuing to seek “critical telephone records that

are essential to a defense,” and that Defendant himself “gave counsel an additional list of

potential witnesses.” Id.

        Subsequently, the Government filed a § 851 Information as to Prior Convictions, which

advised Defendant that the Government would seek enhanced penalties based on prior drug

convictions. Doc. 95. Thereafter, Defendant entered a Plea and Cooperation Agreement and




Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF               Document 176        Filed 05/22/07       Page 5 of 18


                                                                                              Page 5 of 18


pled guilty to Count One.1 Doc. 104. During the plea colloquy, the Court engaged Defendant in

the following pertinent exchange:

        THE COURT:              If this case were to go to trial, in order to prove this charge
                                against you, the government must establish...that the plan
                                involved distributing and possessing with intent to
                                distribute more than 50 grams of crack cocaine as charged
                                in the indictment....Are you fully aware of the charge
                                against you [and] these elements?

        THE DEFENDANT: Yes, sir, I am.

        THE COURT:              Are you aware that in proving the elements, the
                                government must specifically prove the type and quantity
                                of the drugs involved in the conspiracy, which in your case
                                is 50 grams or more of crack cocaine?

        THE DEFENDANT: Yes, sir.

                                                 ***

        THE COURT:              [T]he government has filed a written notice that you have a
                                prior felony drug conviction which subjects you to an
                                enhanced statutory penalty. It is my understanding that you
                                and the government have agreed that you have only one
                                prior felony drug conviction for the purposes of enhancing
                                the statutory penalty, is that correct?

        THE DEFENDANT: Yes, sir.

        THE COURT:              With one prior felony drug conviction, the enhanced
                                statutory penalty you face is a minimum mandatory term of
                                20 years imprisonment, up to a maximum of life....Do you
                                understand the enhanced statutory penalty you face?

        THE COURT:              Yes, sir.


        1
        On the day before, Defendant had appeared for a change of plea, but after hearing that he
might be facing a minimum mandatory life sentence if he had two or more prior felony drug
convictions, he withdrew his change of plea. Doc. 148 at 13-16. At the second change of plea
hearing, the parties agreed that he had only one prior felony drug conviction. See infra.
Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF             Document 176          Filed 05/22/07      Page 6 of 18


                                                                                            Page 6 of 18


Doc. 147 at 8-11. Mr. Glazer then summarized the contents of the Plea Agreement:

        The agreement is that he will enter a plea to conspiracy to more than 50 grams of
        cocaine, or cocaine base, and the minimum mandatory sentence of 20 years, up to
        life imprisonment....

                                                ***

        I’ve explained to my client what a 5K1 is and that he has to earn it by talking to
        the prosecutor, and that it’s not up to the judge to issue the 5K1, but if you are to
        get a 5K1, then the judge is allowed to go below the minimum mandatory
        sentence.

Id. at 13-14. Glazer then asked Defendant if he had explained it to him, and Defendant

answered, “Yes, sir.” Id. at 14. Defendant acknowledged to the Court that he had reviewed the

plea and cooperation agreement with his attorney, that he had signed it, and that there was

nothing about the terms of it that he did not understand. Id.

        The Court then questioned Defendant regarding the voluntariness of his plea:

        THE COURT:              Has anyone made you any promise or promises other than
                                what’s set forth in this plea agreement to get you to enter
                                your plea here today?

        THE DEFENDANT: No, sir.

        THE COURT:              So there are no secret or undisclosed promises or
                                inducements?

        THE DEFENDANT: Not to my knowledge, no, sir.

        THE COURT:              Has any person used any threats, force or violence or
                                pressure, intimidation, to make you come in here and plead
                                guilty this morning?

        THE DEFENDANT: No, sir.

Id. at 15. Defendant then stated that he was satisfied with Mr. Glazer’s representation and that

he had no complaints about how Mr. Glazer had represented him. Id.

Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07      Page 7 of 18


                                                                                            Page 7 of 18


        In pertinent part, the Court then found:

        I find that you are now alert and intelligent; that you understand the nature of the
        charge against you; and that you appreciate the consequences of pleading guilty.

                                                ***

        I also find that you are fully aware of the effect of the sentencing guidelines upon
        your case and the possible sentence or punishment that may be imposed.
        I further find that your decision to plead guilty is freely and voluntarily made and
        that you’ve made your decision with the advice and counsel of a competent
        lawyer with whom you say you are well pleased.

Id. at 16.

        While Defendant’s Guidelines range was 168-210 months, because of the statutory

enhancement pursuant to 21 U.S.C. § 841(b), he was sentenced to 240 months imprisonment.

Doc. 123; Presentence Report at 26. Defendant was afforded a two-point reduction for

acceptance of responsibility. PSR at ¶ 29. Defendant did not receive a substantial assistance

motion at sentencing because none of the information he had provided had “materially advanced

an investigation....” Doc. 146 at 20. The Government left open the possibility of a Rule 35

motion, however, in the “hope that his cooperation would continue and that there may come a

time in the future when the information he’s provided to us will prove useful, and he may be able

to get some relief.” Id. at 20-21. Before the imposition of sentence, Defendant stated:

        [P]rior to my plea date, that three or four months prior, I explained to my counsel,
        Mr. Glazer, as he can tell you, that after reviewing my situation, I informed him
        that I would like him to go to Mrs. Rhew and accept her plea of pleaing out to less
        than 50 grams, which was the 44 grams that day. But Mr. Glazer informed me
        that he was not a plea-out lawyer. And then I remember what you told me that
        the only reason I got Mr. Glazer in the first place was because I was looking at so
        much time.

        So only to find out...when it was too late, that Mrs. Rhew had changed it over to
        50 grams, and that I couldn’t plea out. But when I asked Mr. Glazer–he can tell

Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF              Document 176        Filed 05/22/07      Page 8 of 18


                                                                                             Page 8 of 18


         you, it was three or four–it was enough time to go to Ms. Rhew and plea out to
         the 50 grams, three to four months before we came to this plea date. I asked him
         to tell Mrs. Rhew that I would accept her plea and talk to her and plea to under 50
         grams.

         So he told me he wasn’t a plea-out attorney, and if I wanted to plea out I’d have
         to get another attorney. And you told me the only way I got Mr. Glazer in the
         first place is that I was looking at so much time.

         So, Your Honor, even though Mr. Glazer informed me that even though I would
         have to plea out to more than 50 grams, that if I supplied substantial assistance to
         the government, that Mrs. Rhew was the best attorney for giving 5K1s and Rule
         35s. If I proved worthy, that I would–that this is why, that–and from the
         interviews the agents gave me, they informed me that my information was good
         and that the only reason why they can’t give me the 5K is because I–because I’m
         not–this date came too early, but they told me they’ll call me back. And I told
         him I’ll give any assistance any way possible, but they said they would call
         me–they would have to call me back because my sentencing date was coming too
         early. But the reason why–I mean, I admit I did wrong. The reason why I went
         ahead and plead out that day, because Mr. Glazer told me if Ms. Rhew said if I
         give her substantial information that they would give me a 5K1, and then that
         would put it back to originally under 50 grams.

         So I’m not saying I didn’t do anything wrong. I admit to my crime. To the
         utmost I did it. But I mean, even when I had time to plea out to less than 50
         grams, I asked my counsel to go ahead and do it, but he felt–his judgment was
         that we had a case, and so I took his better judgment. Plus I didn’t think you
         would give me another attorney after what you went through the first time.

So I waited out and I gave the agents–two sets of agents that came to me and they said I gave
them good information, and they said it was just the timing, that because I’m going to trial–I
mean I’m going to plea out to–I’m going to sentencing too early that–I don’t know, they said
something about getting me back in. But I want to do the right thing and I want to get out just
like everybody else, along with my rights, so I can–

Id. at 16-18. The Court asked Mr. Glazer if he had “anything further,” and he replied, “No,

Judge. I think Mr. Carter has said it all,” which, upon the Court’s questioning, he reiterated. Id.

at 21.

         Defendant appealed, and after filing an Anders brief, Glazer was allowed to withdraw.


Case No: 4:01-cr-00059-SPM-AK
    Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07      Page 9 of 18


                                                                                            Page 9 of 18


See Carter v. United States, No. 02-15987 (11th Cir.). The appellate court appointed Ryan

Thomas Truskoski in his stead, and he too filed an Anders brief and was allowed to withdraw.

The Eleventh Circuit then affirmed without further discussion. Doc. 157.

        The instant motion to vacate ensued.2 On this occasion, Defendant raises four claims for

relief, three of which involve the effectiveness of trial counsel: (1) trial counsel refused to allow

Defendant to accept the Government’s offer to plead to less than 50 grams of crack cocaine; (2)

trial counsel provided misleading facts as to Defendant’s statutory punishment; (3) counsel failed

to move the Court for a downward departure for acceptance of responsibility; and (4) the Court

lacked jurisdiction to impose the 20-year minimum mandatory sentence. Doc. 158 at 5-6. He

also complains that appellate counsel “failed to communicate with [him] until after he had filed

an Anders brief,” and he “should have raised ineffectiveness claims and jurisdiction claim.” Id.

at 6. In his supporting affidavit, Defendant states:

        1) I explained to my counsel three (3) to four (4) months prior to my actual plea
        date, that I wanted to go to Ms. Karen Rhew (A.U.S.A) and tell her that I would
        like to accept her plea, which was to less than 50 grams. At that time the plea
        would have been a timely plea. But my counsel Mr. Glazer informed me that he
        was not a plea lawyer and that if I wanted to plea out that I would have to get a
        new lawyer.

        2) I did not get a new attorney because I had already been granted a new
        attorney, and I trusted Counsel’s judgement, only to be informed by Counsel
        merely days before my trial was to start that Counsel thought it was best now for
        me to enter a plea of 50 grams or more and cooperate with the government.

        3) I personally wanted to enter a plea to the initial plea offer of less than 50
        grams but Counsel adamantly refused to inform the prosecution of my wanting to
        plea at that time.


        2
       Defendant’s first motion to vacate was dismissed without prejudice as having been filed
prematurely. See Docs. 132, 136, & 137.
Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF              Document 176       Filed 05/22/07      Page 10 of 18


                                                                                          Page 10 of 18



        4) I told the Court these facts at my sentencing hearing.

        5) Ms. Rhew admitted to the Court that she had in fact offered Me a plea to less
        than 50 grams.

        6) The Court asked my counsel did he have anything to say about my statement
        at sentencing and counsel responded that, “the defendant has said everything” and
        did not deny any of my allegations.

Doc. 162.

        Each claim will be considered in turn.

DISCUSSION

        1.       Ineffective assistance of counsel.

        Because the first three claims raise the issue of counsel’s effectiveness, a review of

Strickland v. Washington, 466 U.S. 668 (1984), is appropriate.

        To prevail on a constitutional claim of ineffective assistance of counsel, a defendant must

demonstrate (1) that his counsel’s performance was below an objective and reasonable

professional norm, and (2) that he was prejudiced by this inadequacy. Strickland, 466 U.S. at

686. The court may dispose of the claim if a defendant fails to carry his burden of proof on either

the performance or the prejudice prong. Id. at 697. The court need not address the adequacy of

counsel’s performance when a defendant fails to make a sufficient showing of prejudice. Id.; see

also Tafero v. Wainright, 796 F.2d 1314, 1319 (11th Cir. 1986).

        With regard to the performance prong of Strickland, a defendant must provide factual

support for his contentions that counsel’s performance was constitutionally deficient. Smith v.

White, 815 F.2d 1401, 1406-07 (11th Cir. 1987). The court must consider counsel’s performance

in light of all of the circumstances at that time and indulge in a strong presumption that counsel’s

Case No: 4:01-cr-00059-SPM-AK
      Case 4:01-cr-00059-MW-MAF          Document 176        Filed 05/22/07     Page 11 of 18


                                                                                        Page 11 of 18


conduct fell within the wide range of reasonably professional assistance. Strickland, 466 U.S. at

689-90. To show counsel’s performance was unreasonable, a defendant must establish that “no

competent counsel would have taken the action that his counsel did take.” Grayson v. Thompson,

257 F.3d 1194, 1216 (11th Cir. 2001) (emphasis omitted). “An ambiguous or silent record is not

sufficient to disprove the strong and continuing presumption...that [counsel] did what he should

have done and that he exercised reasonable professional judgment.” Chandler v. United States,

218 F.3d 1305, 1314 n.15 (11th Cir. 2000) (en banc), cert. denied, 531 U.S. 1204 (2001). “The

relevant question is not whether counsel’s choices were strategic, but whether they were

reasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 481 (2000). There are no “absolute rules” for

determining whether counsel’s actions were indeed reasonable, as “[a]bsolute rules would

interfere with counsel’s independence–which is also constitutionally protected–and would

restrict the wide latitude counsel have in making tactical decisions.” Putnam v. Head, 268 F.3d

1223, 1244 (11th Cir. 2001). “To uphold a lawyer’s strategy, [the Court] need not attempt to

divine the layer’s mental processes underlying the strategy.” Chandler, 218 F.3d at 1315 n.16.

“No lawyer can be expected to have considered all of the ways [to provide effective assistance].”

Id. Quite importantly,

         If a defense lawyer pursued course A, it is immaterial that some other reasonable
         courses of defense (that the lawyer did not think of at all) existed and that the
         lawyer’s pursuit of course A was not a deliberate choice between course A,
         course B, and so on. The lawyer’s strategy was course A. And [the Court’s]
         inquiry is limited to whether this strategy, that is, course A, might have been a
         reasonable one.

Id.

         To show prejudice, a defendant must show more than simply that counsel’s unreasonable


Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF              Document 176        Filed 05/22/07       Page 12 of 18


                                                                                           Page 12 of 18


conduct might have had “some conceivable effect on the outcome of the proceeding.” Strickland,

466 U.S. at 693. Instead, a defendant must show a “reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at 694. A

“reasonable probability is defined as a probability sufficient to undermine confidence in the

outcome.” Id. Additionally, prejudice is established only with a showing that the result of the

proceeding was fundamentally unfair or unreliable. Lockhart v. Hill, 506 U.S. 364, 370 (1993).

        Finally, the Eleventh Circuit has recognized that given the principles and presumptions

set forth above, “the cases in which habeas petitioners can properly prevail...are few and far

between.” Chandler, 218 F.3d at 1313 (11th Cir. 2000). This is because the test is not what the

best lawyers would have done or even what most good lawyers would have done, but rather

whether a reasonable lawyer could have acted in the circumstances as defense counsel acted.

Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000), cert. denied, 534 U.S. 903 (2001).

        In the first claim for relief, Defendant charges, as more fully set forth in his testimony at

the sentencing hearing, that Glazer refused to allow him to plead guilty to less than 50 grams of

crack as originally offered by the Government. Doc. 146 at 16-18; Doc. 158 at 5; & Doc. 172 at

3. In response to the instant motion, the Government submits an unsworn and unnotarized letter

from Mr. Clark indicating that on February 1, 2002, which was shortly before Clark was

allowed to withdraw from representation, counsel for the Government had advised him“that

although she had originally made Carter the offer to plead guilty to the 50 grams, she now

believed, after talking with [the co-defendants], that Carter had been dealing dope with them for

quite some time.” Doc. 171, Attach. A. In reply, Defendant discounts Clark’s statement,

claiming an evidentiary hearing would reveal it to be “incorrect/false.” Doc. 172 at 3. He does

Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF              Document 176       Filed 05/22/07      Page 13 of 18


                                                                                          Page 13 of 18


not, however, advise the Court of what evidence he has that Mr. Clark is being less than candid

with the Court.

        When Defendant was indicted, the Government was in possession of a videotape showing

him in possession of slightly over 44 grams of crack. Defendant does not now and never has

disputed that fact.3 He also does not dispute that he initially turned down the Government’s offer

to plead guilty to the 44 grams of crack or that at the beginning he insisted on going to trial and

pursuing a defense with which Mr. Clark did not agree. Furthermore, Mr. Glazer does not now

and never has disputed Defendant’s assertion that he would not allow Defendant to plead guilty,

even though counsel was clearly given the opportunity to address these allegations at sentencing

and on this occasion.

        Even so, in terms of the prejudice prong of Strickland, the question is whether there is a

reasonable probability that if Mr. Glazer had followed Defendant’s directions and advised

counsel for the Government that his client wanted to plead to the lesser cocaine amount, the

outcome of the proceedings would have been different. Having carefully considered the matter,

the Court answers that question in the negative, for the Court does not believe that there is a

reasonable probability that after the co-defendants began cooperating, the original plea offer

remained open so that Defendant could have pled guilty to the lesser drug amount.4 By the time

Mr. Glazer was appointed and consulted his client, the co-defendants had pled guilty and were

indisputably cooperating. Indeed, it is clear that by February 21, 2002, shortly after Mr. Glazer’s

        3
       While he apparently intended to assert a defense to the possession, by pleading guilty he
waived any defenses he may have had.
        4
           There is no evidence to suggest that Ms. Rhew’s verbal plea offer was ever reduced to
writing.
Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07      Page 14 of 18


                                                                                          Page 14 of 18


appointment and trial was continued, the co-defendant, Marcus DeGeorge, intended to testify

against instant Defendant in an attempt to “substantially assist the government.” Doc. 76The

only substantial assistance which DeGeorge could provide with regard to this Defendant

necessarily entailed his testifying that Defendant had worked with him and the other co-

defendant in the drug business on more than the one occasion when Defendant was caught red-

handed on videotape with the 44 grams of cocaine.5 In fact, the Government itself had advised

Defendant on February 11, 2002, at the hearing on Mr. Clark’s motion to withdraw that it had

witnesses who would testify that Defendant was involved in the conspiracy as charged in the

Indictment. Doc. 149 at 8. Defendant does not and cannot dispute that “the policy of [the U.S.

Attorney’s] office is if [it] can prove more than 50, [it does not] plead less than 50.” Doc. 146 at

20.6 Thus, there is no reasonable probability that even if Mr. Glazer had told the Government

that Defendant wanted to accept the original plea offer, the Government would have agreed.

        This claim of ineffectiveness is therefore without merit.

        Defendant’s second claim that his plea was not knowingly and voluntarily entered is

more easily disposed of. In this claim, Defendant maintains that counsel led him to believe that

he was facing a minimum life sentence and “that a plea to a minimum of 20 years was favorable


        5
        The other co-defendant, John Roberts, subsequently filed his own motion to continue
sentencing which indicated that he too intended to testify against instant Defendant. Doc. 82.
        6
         The evidence also suggests that as of February 25, 2002, Defendant himself was
continuing to press for trial. See supra; see also Doc. 80. For purposes of this proceeding,
however, the Court will assume that Defendant acted in this manner only because Mr. Glazer
refused to approach the Government about a plea. This is probably not a reasonable assumption,
as the truth is more likely that Defendant wanted to go to trial and to assert the defense outlined
at the hearing on Mr. Clark’s motion to withdraw which had occurred only days previously and
that he was indeed assisting Mr. Glazer in that endeavor.
Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF             Document 176        Filed 05/22/07      Page 15 of 18


                                                                                         Page 15 of 18


in his case.” Doc. 158 at 5. According to Defendant, he was indicted only for 44 grams of

cocaine base, and thus, he was not exposed to a 20-year minimum mandatory or maximum life

sentence. He claims that he would have proceeded to trial if he had known the true nature of his

sentencing exposure.

        The law is well established that a “guilty plea means something. It is not an invitation to

a continuing litigation dialogue between a criminal defendant and the court.” Murray v. United

States, 145 F.3d 1249, 1254 (11th Cir. 1998). In fact,

        the representations of the defendant, his lawyer, and the prosecutor at...a [plea]
        hearing, as well as any findings made by the judge accepting the plea, constitute a
        formidable barrier in any subsequent collateral proceedings. Solemn declarations
        in open court carry a strong presumption of verity. The subsequent presentation of
        conclusory allegations unsupported by specifics is subject to summary dismissal,
        as are contentions that in the face of the record are wholly incredible.

Blackledge v. Allison, 431 U.S. 63, 73-74 (1977).

        Here, Defendant’s allegations are plainly belied by the record. Despite his protestations

to the contrary, he was indeed indicted for being part of a conspiracy involving more than 50

grams of crack cocaine. Regardless of what transpired in the grand jury room, the Indictment

speaks for itself. Furthermore, the Government properly advised Defendant that it would seek

the enhanced penalties when it filed the § 851 notice. Most importantly, the Court very

thoroughly reviewed with Defendant the sentencing issue he now presents. Thus, his

contentions that counsel misled him and failed to advise him properly “are contentions that in the

face of the record are wholly incredible.” The Court meticulously advised Defendant of the

sentence he faced by pleading guilty, and although he was given the opportunity to advise the

Court of any misunderstanding he had about the possible penalties involved, he did not express


Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF             Document 176          Filed 05/22/07    Page 16 of 18


                                                                                         Page 16 of 18


any equivocation about the ramifications of his change of plea.

        Defendant’s Apprendi argument offered in rebuttal is also meritless. Doc. 172 at 4. In

the context of a guilty plea, Apprendi and its progeny apply only when the sentence exceeds the

“the maximum authorized by the facts established by a plea of guilty....” United States v.

Booker, 543 U.S. 220, 244 (2005). Here, Defendant admitted that he conspired to distribute and

to possess with intent to distribute more than 50 grams of crack and that he had at least one prior

felony drug conviction. He therefore admitted the facts necessary to warrant the imposition of

the 20-year minimum mandatory sentence, and there was no Apprendi error.

        Therefore, this ground for relief is not well taken.

        As to the third claim that counsel was ineffective for failing to move for a downward

departure based on acceptance of responsibility, Defendant is mistaken. The Presentence Report

clearly shows that the Probation Officer credited him with two points for acceptance of

responsibility even though Defendant did not advise the Court of his desire to plead guilty until

approximately three days before trial was set to begin.7 See PSR at ¶ 29. This claim is therefore

without merit.

        In his rebuttal, Defendant reframes this issue as a claim that counsel should have objected

to his Base Offense Level being calculated at 32 for more than 50 grams of crack, rather than 30

for less than 50 grams of crack. Doc. 172 at 5. This claim is also patently without merit, as he

was indicted for a conspiracy involving more than 50 grams of crack cocaine, and he pled guilty


        7
        In recommending a 2-point adjustment, rather than a 3-point adjustment, for acceptance
of responsibility, the Probation Officer looked to the fact that because Defendant failed to accept
responsibility until the eve of trial, the Government “was forced to prepare for trial and the Court
was required to expend time and energy on preliminary trial matters.” PSR at ¶ ¶ 20-21.
Case No: 4:01-cr-00059-SPM-AK
      Case 4:01-cr-00059-MW-MAF           Document 176        Filed 05/22/07      Page 17 of 18


                                                                                            Page 17 of 18


to the indicted amount.

         In his fourth ground for relief, Defendant maintains that the Court lacked jurisdiction to

impose the 20-year minimum mandatory sentence. This appears to be based on the same grand

jury testimony asserted as bases for the second and third claims. As previously explained, this

claim is likewise without merit.

         Finally, with regard to Defendant’s charge that appellate counsel was ineffective for not

challenging trial counsel’s effectiveness on direct appeal, the Eleventh Circuit does not generally

consider such a claim unless the district court entertains the claim during the trial proceedings

and develops a factual record on that point. United States v. Bender, 290 F.3d 1279, 1284 (11th

Cir. 2002). Neither Mr. Glazer’s nor Mr. Clark’s effectiveness was challenged at the district

court level, and thus, it could not be raised on direct appeal. Consequently, appellate counsel

was not ineffective for failing to raise what would have been a patently frivolous issue.

         Defendant also complains that appellate counsel was ineffective for failing to challenge

the jurisdiction of this Court to sentence him for more than 50 grams of crack. As discussed

supra, this is a non-issue, and therefore, appellate counsel was not ineffective for failing to raise

it.

CONCLUSION

         Having carefully considered the matter, the Court finds that neither trial nor appellate

counsel rendered ineffective assistance in their representation of Defendant and that this Court

plainly had jurisdiction over this criminal matter and to impose the minimum mandatory

sentence prescribed by statute.

         In light of the foregoing, it is respectfully RECOMMENDED that Defendant Pierre

Case No: 4:01-cr-00059-SPM-AK
   Case 4:01-cr-00059-MW-MAF              Document 176         Filed 05/22/07       Page 18 of 18


                                                                                            Page 18 of 18


Carter’s motion to vacated, Doc. 158, be DENIED.

        IN CHAMBERS at Gainesville, Florida, this 22nd day of May, 2007.




                                               S/ A. KORNBLUM
                                               ALLAN KORNBLUM
                                               UNITED STATES MAGISTRATE JUDGE




                                    NOTICE TO THE PARTIES

          A party may file specific, written objections to the proposed findings and recommendations
within 15 days after being served with a copy of this report and recommendation. A party may
respond to another party’s objections within 10 days after being served with a copy thereof. Failure
to file specific objections limits the scope of review of proposed factual findings and recommendations.




Case No: 4:01-cr-00059-SPM-AK
